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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-3512                              Case Name: Empl. Ret. Sys. v. Jones, et al.
 Name of counsel: Marcella L. Lape

 Pursuant to 6th Cir. R. 26.1, Ebony Yeboah-Amankwah
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:
  No.




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No.




                                             CERTIFICATE OF SERVICE

                               September 21, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Marcella L. Lape




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

        (a) Parties Required to Make Disclosure. With the exception of the United States
 government or agencies thereof or a state government or agencies or political subdivisions thereof,
 all parties and amici curiae to a civil or bankruptcy case, agency review proceeding, or original
 proceedings, and all corporate defendants in a criminal case shall file a corporate affiliate/financial
 interest disclosure statement. A negative report is required except in the case of individual criminal
 defendants.
        (b) Financial Interest to Be Disclosed.
                (1) Whenever a corporation that is a party to an appeal, or which appears as amicus
 curiae, is a subsidiary or affiliate of any publicly owned corporation not named in the appeal, counsel
 for the corporation that is a party or amicus shall advise the clerk in the manner provided by
 subdivision (c) of this rule of the identity of the parent corporation or affiliate and the relationship
 between it and the corporation that is a party or amicus to the appeal. A corporation shall be
 considered an affiliate of a publicly owned corporation for purposes of this rule if it controls, is
 controlled by, or is under common control with a publicly owned corporation.
                  (2) Whenever, by reason of insurance, a franchise agreement, or indemnity agreement,
 a publicly owned corporation or its affiliate, not a party to the appeal, nor an amicus, has a substantial
 financial interest in the outcome of litigation, counsel for the party or amicus whose interest is aligned
 with that of the publicly owned corporation or its affiliate shall advise the clerk in the manner provided
 by subdivision (c) of this rule of the identity of the publicly owned corporation and the nature of its or
 its affiliate's substantial financial interest in the outcome of the litigation.
         (c) Form and Time of Disclosure. The disclosure statement shall be made on a form
 provided by the clerk and filed with the brief of a party or amicus or upon filing a motion, response,
 petition, or answer in this Court, whichever first occurs.




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